IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
NORTHERN DIVISION
UNITED STATES OF AMERICA
v. CRIMINAL NO. 3' D400\0 2D PS- LEX
JODY E. OWENS IL,
CHOKWE ANTAR LUMUMBA, and
AARON B. BANKS

NOTICE OF MAXIMUM PENALTIES

OWENS, BANKS, and LUMUMBA
Count 1: Conspiracy
18 U.S.C. § 371
e Not more than five (5) years of imprisonment
Not more than a $250,000 fine
Not more than three (3) years supervised release
$100 special assessment

OWENS
Count 2: Federal Program Bribery
18 U.S.C. § 666(a)(2)
e Not more than ten (10) years of imprisonment
e Not more than a $250,000 fine
e Not more than three (3) years supervised release
e $100 special assessment
BANKS

Count 3: Federal Program Bribery
18 U.S.C. § 666(a)(1)(B)
e Not more than ten (10) years of imprisonment
Not more than a $250,000 fine
Not more than three (3) years supervised release
$100 special assessment

OWENS
Count 4: Federal Program Bribery
18 U.S.C. § 666(a)(2)
e Not more than ten (10) years of imprisonment
Not more than a $250,000 fine
Not more than three (3) years supervised release
$100 special assessment
